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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC-JSC


This document relates to:                      STIPULATION AND [PROPOSED]
                                               ORDER MODIFYING CASE SCHEDULE
ALL ACTIONS                                    AS MODIFIED
                                               Judge: Hon. Vince Chhabria




STIPULATION AND [PROPOSED] ORDER                                                 MDL NO. 2843
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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 1st day of April, 2022, at Oakland, California.


                                               /s/ Lesley E. Weaver
                                               Lesley E. Weaver




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